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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
                v.                                )
                                                  )
RICHARD W. GATES III,                             )             Crim. No. 17-201-2 (ABJ)
                                                  )
                Defendant.                        )             FILED UNDER SEAL


  DEFENDANT RICHARD W. GATES III’S MOTION FOR LEAVE TO FILE UNDER
              SEAL RESPONSE TO ORDER OF THE COURT

        Richard W. Gates III, by and through counsel, hereby moves this Court for leave to file

under seal his Response to Order of the Court, ECF # 132 (Sealed). Mr. Gates contends that despite

the general policy that public access to judicial proceedings and judicial records is important to

the proper functioning of our justice system, there is good cause and compelling reasons in this

instance for the proposed attachments to not be publicly disclosed. Accordingly, Mr. Gates

seeks leave to file this pleading under seal as well.

        WHEREFORE, Mr. Gates hereby respectfully moves this Court for leave to file under

seal his Motion for Leave to File Under Seal his Response to Order of the Court.

                                                Respectfully submitted,


                                                _/s/Shanlon Wu_______________
                                                Shanlon Wu
                                                D.C. Bar No. 422910
                                                Wu, Grohovsky & Whipple, PLLC
                                                Ronald Reagan Building and International
                                                Trade Center
                                                1300 Pennsylvania Avenue, NW, Suite 700
                                                Washington, DC 20004
                                                swu@dcwhitecollar.com
                                                202-204-3053 (Telephone)
                                                202-747-7518 (Facsimile)
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                            Walter Mack
                            Admitted Pro Hac Vice
                            Doar Rieck Kaley & Mack
                            217 Broadway, Suite 707
                            New York, NY 10007-2911
                            212-619-3730 (Telephone)
                            212-962-5037 (Facsimile)

                            Annemarie McAvoy
                            Admitted Pro Hac Vice
                            McAvoy Consulting, LLC
                            mcavoypc@rocketmail.com
                            917-750-8131 (Telephone)

                            Attorneys for Richard W. Gates III




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